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                            UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF ARKANSAS

UNITED STATES OF AMERICA                     )      No. 4:19CR    C.05t'J.       t({;g
                                             )
~                                            )      21 u.s.c.   § 846
                                             )      21 U.S.C.   § 84l(a)(l)
CLIFTON LOUIS WILLIAMS                       )      21 U.S.C.   § 84l(b)(l)(A)
BRANDON DANNER                               )      21 U.S.C.   § 84l(b)(l)(B)
CODY ALEXANDER CAPPS                         )      21 U.S.C.   § 84l(b)(l)(C)
GABRIEL VINCENT ELLINGTON                    )      18 U.S.C.   § 922(g)(l)
CHRISTOPHER FAUCETTE                         )      18 U.S.C.   § 924(c)(l)(A)
GARRETT JOSEPH HARDIN                        )
JACLYN BROOKS HARRIS                         )
ZACHARY CLARK HIGGINS                        )
MALCOLM XAVIER MEDLEY                        )
LENN NELSON, JR.                             )
JAKE WILLIAM PETERSON                        )
AUSTIN TAYLOR PHILLIPS                       )
TEZZERA MARIE ROBERTS                        )
COLUNTAE DEVON SMITH                         )
DONALD DEAN THOMAS, II                       )
MATHES ANTHONY TILLINGHAST                   )
JESSICA ANGEL VAIL                           )
KATE MARIE VANVALKENBURG                     )
ALLISON PAIGE WEIR                           )
JONTE MARIE WILLIAMS                         )
RASHARD ALLEX WILLIFORD                      )
ANDREW WOOD ZUERLEIN                         )
MATTHEW PAPEZ ZUERLEIN                       )

                                        INDICTMENT

THE GRAND JURY CHARGES THAT:

                                             COUNTl

       A.      From in or about June 2018 until in or about October 2019, in the Eastern District

of Arkansas and elsewhere, the defendants,

                                CLIFTON LOUIS WILLIAMS
                                   BRANDON DANNER
                                CODY ALEXANDER CAPPS
                              GABRIEL VINCENT ELLINGTON
                                CHRISTOPHER FAUCETTE
                                GARRETT JOSEPH HARDIN
                                JACLYN BROOKS HARRIS

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                                ZACHARY CLARK HIGGINS
                               MALCOLM XAVIER MEDLEY
                                     LENN NELSON, JR.
                                JAKE WILLIAM PETERSON
                                AUSTIN TAYLOR PHILLIPS
                                TEZZERA MARIE ROBERTS
                                COLUNTAE DEVON SMITH
                                DONALD DEAN THOMAS, II
                             MATHES ANTHONY TILLINGHAST
                                   JESSICA ANGEL VAIL
                             KATE MARIE VANVALKENBURG
                                  ALLISON PAIGE WEIR
                                 JONTE MARIE WILLIAMS
                               RASHARD ALLEX WILLIFORD
                              ANDREW WOOD ZUERLEIN, and
                               MATTHEW PAPEZ ZUERLEIN

voluntarily and intentionally conspired with each other, and with others known and unknown to

the grand jury, to knowingly and intentionally distribute and possess with intent to distribute a

mixture and substance containing a detectable amount of fentanyl, a Schedule II controlled

substance, in violation of Title 21, United States Code, Section 841(a)(l).

       B.      With respect to CLIFTON LOUIS WILLIAMS, BRANDON DANNER, and

GARRETT JOSEPH HARDIN, the amount of controlled substances involved in the conspiracy

attributable to the defendant as a result of the defendant's own conduct and the conduct of other

co-conspirators reasonably foreseeable to the defendant, is 400 grams or more of a mixture and

substance containing a detectable amount of fentanyl, a Schedule II controlled substance, in

violation of Title 21, United States Code, Section 841(b)(l)(A).

       C.      With respect to CODY ALEXANDER CAPPS, GABRIEL VINCENT

ELLINGTON, CHRISTOPHER FAUCETTE, JACLYN BROOKS HARRIS, ZACHARY

CLARK HIGGINS, MALCOLM XAVIER MEDLEY, LENN NELSON, JR., JAKE WILLIAM

PETERSON, AUSTIN TAYLOR PHILLIPS, TEZZERA MARIE ROBERTS, COLUNTAE

DEVON SMITH, DONALD DEAN THOMAS, 11, MATHES ANTHONY TILLINGHAST,

JESSICA ANGEL VAIL, KATE MARIE VANVALKENBURG, ALLISON PAIGE WEIR,

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JONTE MARIE WILLIAMS, RASHARD ALLEX WILLIFORD, ANDREW WOOD

ZUERLEIN, and MATTHEW PAPEZ ZUERLEIN, the amount of controlled substances

involved in the conspiracy attributable to the defendant as a result of the defendant's own

conduct and the conduct of other co-conspirators reasonably foreseeable to the defendant, is 40

grams or more, but less than 400 grams, of a mixture and substance containing a detectable

amount of fentanyl, a Schedule II controlled substance, in violation of Title 21, United States

Code, Section 841 (b)(1 )(B).

       All in violation of Title 21, United States Code, Section 846.

                                            COUNT2

       On or about August 1, 2018, in the Eastern District of Arkansas, the defendant,

                                 CLIFTON LOUIS WILLIAMS,

knowingly and intentionally distributed less than 40 grams of a mixture and substance containing

a detectable amount of fentanyl, a Schedule II controlled substance, in violation of Title 21,

United States Code, Sections 841(a)(l) and 841(b)(l)(C).

                                            COUNT3

       On or about August 6, 2018, in the Eastern District of Arkansas, the defendant,

                                 CLIFTON LOUIS WILLIAMS,

knowingly and intentionally distributed less than 40 grams of a mixture and substance containing

a detectable amount of fentanyl, a Schedule II controlled substance, in violation of Title 21,

United States Code, Sections 841(a)(l) and 841(b)(l)(C).




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                                            COUNT4

       On or about August 30, 2018, in the Eastern District of Arkansas, the defendant,

                                 CLIFTON LOUIS WILLIAMS,

knowingly and intentionally distributed less than 40 grams of a mixture and substance containing

a detectable amount offentanyl, a Schedule II controlled substance, to E.D., whose death

resulted from the use of such substance, in violation of Title 21, United States Code, Sections

841(a)(l) and 84l(b)(l)(C).

                                            COUNTS

       On or about October 18, 2018, in the Eastern District of Arkansas, the defendant,

                                 CLIFTON LOUIS WILLIAMS,

knowingly and intentionally distributed less than 40 grams of a mixture and substance containing

a .detectable amount of fentanyl, a Schedule II controlled substance, to E.H., whose death

resulted from the use of such substance, in violation of Title 21, United States Code, Sections

84l(a)(l) and 841(b)(l)(C).

                                           COUNT6

       On or about October 18, 2018, in the Eastern District of Arkansas, the defendant,

                                 CLIFTON LOUIS WILLIAMS,

knowingly and intentionally possessed with intent to distribute less than 40 grams of a mixture

and substance containing a detectable amount of fentanyl, a Schedule II controlled substance, in

violation of Title 21, United States Code, Sections 84l(a)(l) and 841(b)(l)(C).




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                                             COUNT7

       A.      On or about October 18, 2018, the defendant,

                                  CLIFTON LOUIS WILLIAMS,

had previously and knowingly been convicted of a crime punishable by a term of imprisonment

exceeding one year, that is: Forgery in the Second Degree, in Pulaski County, Arkansas, Circuit

Court in Case Number 2016-3392.

       B.      On or about October 18, 2018, in the Eastern District of Arkansas, the

defendant,

                                  CLIFTON LOUIS WILLIAMS,

knowingly possessed, in and affecting commerce, a firearm, that is: a Heritage, Rough Rider, .22

caliber revolver, bearing serial number 094784, in violation of Title 18, United States Code,

Section 922(g)(l).

                                             COUNTS

       On or about October 18, 2018, in the Eastern District of Arkansas, the defendant,

                                  CLIFTON LOUIS WILLIAMS,

knowingly and intentionally possessed a firearm, that is: a Heritage, Rough Rider, .22 caliber

revolver, bearing serial number 094784, in furtherance of a drug trafficking crime prosecutable

in a court of the United States, that is: a violation of Title 21, United States Code, Sections

841(a)(l), 84l(b)(l)(C), and 846, as set forth in Counts 1 and 6 of this Indictment.

       All in violation of Title 18, United States Code, Section 924(c)(l)(A).




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                                            COUNT9

       On or about October 25, 2018, in the Eastern District of Arkansas, the defendant,

                                     BRANDON DANNER,

knowingly and intentionally possessed with intent to distribute less than 100 grams of a mixture

and substance containing a detectable amount of heroin, a Schedule I controlled substance, in

violation of Title 21, United States Code, Sections 841(a)(l) and 841(b)(l)(C).

                                           COUNTlO

       On or about October 25, 2018, in the Eastern District of Arkansas, the defendant,

              CODY ALEXANDER CAPPS and TEZZERA MARIE ROBERTS,

knowingly and intentionally possessed with intent to distribute less than 40 grams of a mixture

and substance containing a detectable amount of fentanyl, a Schedule II controlled substance, in

violation of Title 21, United States Code, Sections 841(a)(l) and 841(b)(l)(C).

                                           COUNT 11

       On or about January 31, 2019, in the Eastern District of Arkansas, the defendant,

                                    ALLISON PAIGE WEIR,

knowingly and intentionally distributed less than 40 grams of a mixture and substance containing

a detectable amount of fentanyl, a Schedule II controlled substance, in violation of Title 21,

United States Code, Sections 841(a)(l) and 841(b)(l)(C).

                                           COUNT 12

       On or about January 31, 2019, in the Eastern District of Arkansas, the defendant,

                                    ALLISON PAIGE WEIR,

knowingly and intentionally possessed with intent to distribute less than 40 grams of a mixture

and substance containing a detectable amount of fentanyl, a Schedule II controlled substance, in

violation of Title 21, United States Code, Sections 841(a)(l) and 841(b)(l)(C).


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                                 FORFEITURE ALLEGATION 1

        Upon conviction of Counts 1, 2, 3, 4, 5, 6, 7, 8, 9, 10, 11, or 12 of this Indictment, the

defendants shall forfeit to the United States, under Title 21, United States Code, Section

853(a)(l), all property constituting, or derived from, any proceeds the person obtained, directly

or indirectly, as a result of the offense.

                                 FORFEITURE ALLEGATION 2

        Upon conviction of Count 1, 2, 3, 4, 5, 6, 7, 8, 9, 10, 11, or 12 of this Indictment, the

defendants shall forfeit to the United States, under Title 21, United States Code, Section

853(a)(2), all of the person's property used or intended to be used, in any manner or part, to

commit, or to facilitate the commission of the offense.

                                 FORFEITURE ALLEGATION 3

        Upon conviction of Count 1, 2, 3, 4, 5, 6, 7, 8, 9, 10, 11, or 12 of this Indictment, the

defendants shall forfeit to the United States, under Title 18, United States Code, Section 924(d),

Title 21, United States Code, Section 853, and Title 28, United States Code, Section 2461(c), all

firearms and ammunition involved in the commission of the offense

                                [End of text. Signature page attached.]




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